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Ce: Bray, Jeff LCDR

Subject: BOP Forensic Analysis

Ladies and gentlemen,

The Department of the Interior, on behalf of the Joint Investigation by the U.S. Coast Guard and
Bureau of Ocean Energy Management, Regulation, and Enforcement, is currently contracting
for expert BOP forensic analysis services to conduct a scientific and technical analysis of all
aspects of the Deepwater Horizon BOP stack. The scope of this analysis will include the
manufacture, installation, modification from original condition, maintenance and history of
repairs, and functionality of the BOP stack. The goal is to determine the sequence of events and
factors that contributed to the BOP stack's failure to operate as intended, while conforming to
custodial and testing protocols that will preserve the evidentiary value of the BOP stack and
yield objective, reliable testing results to be used by the Joint Investigation and a range of other
proceedings.

The Joint Investigation team solicits input from the parties in interest on the forensics testing
plan. We ask that all parties in interest collaborate to develop one consolidated submission. To
be considered for incorporation in the forensic testing plan, the Joint Investigation must receive
your proposed objectives, parameters, and protocols by August 27, 2010.

If you have any questions, please call LCDR Jeff Bray at 202-372-3752 or me at 202-219-3031.

Silvia

Silvia Murphy, Attorney-Advisor EXHIBIT
Division of Mineral Resources 3

